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   UNITED STATES DISTRICT COURT
   DISTRICT OF NEW JERSEY

                                             x
  OSHER ROTKIN,                                  Case No. 3:17-cv-02574-PGS-DEA
                     Plaintiff,

               -against-
  BANK OF AMERICA,

                     Defendant,

                                             x
                     STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is hereby
  stipulated and agreed by and between counsel for Plaintiff Osher Rotkin and

  Defendant Bank of America, that any and all claims by Plaintiff against Bank of

  America in the above-captioned action are dismissed with prejudice. Each party

   shall bear its own costs and attorney’s fees.

      IT IS FURTHER STIPULATED AND AGREED that this Stipulation may be signed
  in counterparts, and facsimile signatures shall be deemed originals hereof.

  Dated: December 3, 2019

  /sjffdward B. Gel/er, Esg.                       Ls/Aleksandra Kaplun, Esg.
  Edward B. Gefler, Esq., P.C., Of Counsel        McGuire Woods LLP
  to M. Harvey Rephen & Associates, P.C.

  15 Landing Way                                 1251 Avenue of the Americas, 20th Fl.
  Bronx, NewYork 10464                           NewYork,NY 10020-1104
  Tel: (914)473-6783                             Tel: (212)548-7015
  Email: epbgoLcom                               Email: jj<ajunmcgjrewodscorn
  Attorney for Plaintiff                         Attorney for Defendant


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